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                            Exhibit F
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                                                                                                                Raymond A. Quaglia
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                                                                                                                quaglia@ballardspahr.com




   April 3, 2024


   Via FedEx

   MICH 424 Park LLC
   1901 Dorchester Road, Apartment # PH
   Brooklyn, NY 11226
   Attention: Boruch Drillman

   Re:       NOTICE OF DEFAULT on the loan to MICH 424 Park LLC, a New Jersey limited liability
             company (“Borrower”), in the original principal amount of $1,497,000.00 (the “Loan”),
             evidenced by the Note in the principal amount of $1,497,000.00 effective as of October 26,
             2018 (the “Note”), given by Borrower to CBRE Capital Markets, Inc. (“Original Lender”), and
             the Loan Agreement between Borrower and Original Lender effective as of October 26, 2018
             (the “Loan Agreement”), and secured by the Multifamily Mortgage, Assignment of Rents and
             Security Agreement from Borrower to Original Lender effective as of October 26, 2018 (the
             “Mortgage”) (the Note, the Loan Agreement, the Mortgage and all other loan documents being
             collectively referred to herein as the “Loan Documents”), the Loan Documents having been
             assigned to and being held by Wells Fargo Bank, National Association, as Trustee, for the
             benefit of the holders of Amherst Pierpoint Commercial Mortgage Securities LLC,
             Multifamily Mortgage Pass-Through Certificates, Series 2019-SB59 (“Lender”)

   Dear Borrower:

   We are counsel to Lender and to KeyBank National Association (“KeyBank”), acting solely in its
   capacity as Special Servicer on behalf of Lender. KeyBank is empowered to act on behalf of Lender
   in connection with the Loan. Capitalized terms used and not defined herein shall be as defined in the
   Loan Documents.

   The Note requires that “Borrower will make a payment every month on the first day of each month
   (each, a ‘Payment Date’)” of principal and interest, with the interest to be calculated at the Variable
   Annual Interest Rate beginning with the Payment Date for November 1, 2023. See Note §§ 1, 2(d)
   and 3(c). Additionally, the Loan Agreement requires that Borrower deposit with Lender on each
   Payment Date certain funds for taxes, insurance and specified reserves (collectively, the “Reserve
   Deposits”). Loan Agreement Art. IV.

   The Loan Agreement defines an Event of Default to exist if, among other things, “Borrower fails to
   pay or deposit when due any amount required by the Note, this Loan Agreement or any other Loan
   Document.” Loan Agreement § 8.01(a).

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   The Note provides that:

            If Lender has not received the full amount of any monthly payment by the 101h day of any
            month or any amount due under any Loan Document within 9 days after it is due (unless
            applicable law requires a longer period of time before a late charge may be imposed), then
            Borrower must pay a late charge to Lender (“Late Charge”). The amount of the Late
            Charge will be 5% of any overdue payment or amount (unless applicable law requires
            a lower amount to be charged).

   Note § 5(a).

   The Note also provides that:

            If Lender has not received the full amount of any monthly payment for 30 days or
            more after the Payment Date or any other Event of Default has occurred and is
            continuing, then the interest rate under this Note will increase to the Fixed Annual
            Interest Rate or the Variable Annual Interest Rate, as applicable, plus 4% (“Default
            Annual Interest Rate”) beginning on that Payment Date or the date any other Event
            of Default commences.

   Note § 5(b).

   The Mortgage provides that:

            At any time during the existence of an Event of Default, Lender, at Lender’s option,
            may declare the Indebtedness to be immediately due and payable without further
            demand, and may foreclose this Instrument by judicial proceeding and may invoke
            any other remedies permitted by New Jersey law, provided in equity or provided in
            this Instrument or in any other Loan Document. Lender will be entitled to collect all
            costs and expenses incurred in pursuing such remedies, including Attorneys’ Fees
            and Costs permitted by Rules of Court, costs of documentary evidence, abstracts and
            title reports.

   Mortgage § 31.

   PLEASE BE ADVISED THAT, AS OF THE DATE HEREOF, THE FIXED MONTHLY
   PRINCIPAL AND INTEREST PAYMENT AMOUNTS AND RESERVE DEPOSITS DUE ON
   THE PAYMENT DATES FOR DECEMBER 1, 2023, AND JANUARY 1, FEBRUARY 1,
   MARCH 1 AND APRIL 1, 2024, TOGETHER WITH THE RESULTING LATE CHARGES,
   DEFAULT INTEREST AND COSTS (COLLECTIVELY, THE “DELINQUENT AMOUNTS”),
   HAVE NOT BEEN PAID BY BORROWER AND, ACCORDINGLY, (A) AN EVENT OF
   DEFAULT HAS OCCURRED AND IS CONTINUING UNDER THE NOTE, THE MORTGAGE,
   THE LOAN AGREEMENT AND THE OTHER LOAN DOCUMENTS, AND (B) DEMAND IS
   HEREBY MADE OF BORROWER FOR THE IMMEDIATE AND FULL PAYMENT OF THE
   DELINQUENT AMOUNTS.



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   IN THE EVENT THE DELINQUENT AMOUNTS ARE NOT PAID IN FULL WITHIN SEVEN
   DAYS OF THE DATE OF THIS NOTICE, AT THE OPTION OF LENDER, THE INDEBTEDNESS
   MAY BE ACCELERATED AND DECLARED TO BE IMMEDIATELY DUE AND PAYABLE
   AND DEMAND MADE FOR THE IMMEDIATE AND FULL PAYMENT OF SAME, AND
   LENDER MAY EXERCISE SUCH OTHER AND FURTHER RIGHTS, INCLUDING BUT NOT
   LIMITED TO FORECLOSURE AND ITS OTHER REMEDIES UNDER THE LOAN
   DOCUMENTS, AS LENDER IN ITS DISCRETION MAY DEEM APPROPRIATE.

   Any partial payment of the Delinquent Amounts to Lender by or on behalf of Borrower shall be applied
   in accordance with the Loan Documents and the receipt, acceptance and/or application of any such
   partial payment shall not be deemed or construed as (a) a waiver or cure, in whole or in part, of any
   existing, potential or future Event of Default, (b) a waiver or limitation of any of Lender’s rights,
   remedies and powers under the Loan Documents or applicable law or in equity, all of which are
   specifically reserved, (c) a waiver or limitation of any of Borrower’s obligations under the Loan
   Documents, (d) a modification of, amendment to, or forbearance of the enforcement of, any of the
   provisions of the Loan Documents, all of which shall remain in full force and effect according to their
   terms, or (e) a reinstatement or extension of the Loan.

   This Notice is provided as a courtesy and is not intended and should not be misconstrued as an
   admission that any written notice is otherwise due to Borrower from Lender.

   As there may be other existing or potential Events of Default, other than the Event of Default described
   in this Notice, Lender hereby reserves and preserves any and all of its rights, remedies and powers
   under the Loan Documents and applicable law and in equity with regard to the Event of Default
   described in this Notice and any other existing, potential or future Events of Default under the Loan
   Documents.

   If you should you have any questions regarding this matter, including the full amount of the Delinquent
   Amounts owed to Lender, please contact Isaac Judge, Asset Manager, at KeyBank at 913-218-2757,
   or via email at Isaac_S_Judge@keybank.com.

   Sincerely,

   /s/ Raymond A. Quaglia

   Raymond A. Quaglia



   cc:      Mr. Isaac Judge (via email)




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   ATTENTION TO ANY DEBTOR IN BANKRUPTCY OR ANY DEBTOR WHO HAS RECEIVED
   A DISCHARGE IN BANKRUPTCY OR WHO MAY HAVE PAID OR SETTLED OR OTHERWISE
   NOT BE OBLIGATED UNDER THE LOAN: Please be advised that this letter constitutes neither a
   demand for payment of the Loan, nor a notice of personal liability to, nor action against, any recipient
   hereof who may have received a discharge of the Loan in accordance with applicable bankruptcy laws
   or who might be subject to the automatic stay of Section 362 of the United States Bankruptcy Code or
   has paid or settled or is otherwise not obligated by law for the Loan.




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